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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
v.                                         ) Case No. 1:24-cr-556 (DEH)
                                           )
ERIC ADAMS,                               )  Judge Dale E. Ho
                                           )
                  Defendant.               )
__________________________________________)



                        BRIEF AMICUS CURIAE OF
                 LT. GENERAL MICHAEL FLYNN (USA-RET.)
                        AMERICA’S FUTURE, AND
           CONSERVATIVE LEGAL DEFENSE AND EDUCATION FUND
         IN SUPPORT OF GRANTING THE DEPARTMENT OF JUSTICE’S
                 MOTION TO DISMISS WITHOUT PREJUDICE



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                                     INTEREST OF AMICI1

       The interest of the amici curiae are set out in the accompanying motion for leave to file.



                                PRELIMINARY STATEMENT

       On February 14, 2025, the U.S. Department of Justice filed a Motion to Dismiss (identified

as a notice of Nolle Prosequi), without prejudice, under Rule 48(a) of the Federal Rules of Criminal

Procedure which authorizes the dismissal of a criminal matter with “leave of court”. The defendant

Mayor Eric Adams joined in the application.

       On February 21, 2025, the district court issued an order which assumed that it had authority

to withhold granting leave of court to prevent the dismissal of a prosecution without prejudice, and

to launch an inquiry into how to proceed. The court then selected a lawyer to serve as an amicus

and commissioned him to advise the court on six hypothetical issues which were not raised by

either of the parties. See Order at 2-3.

       Lastly, the district court invited other amici to file a motion for leave together with a

proposed amicus brief by February 28, 2025, an invitation which these amici accepted.

       Because the Court has neither the power to appoint counsel to respond to hypothetical

questions posed by the Court nor the authority to prevent the dismissal of the case, the Court should

grant the joint application to dismiss the matter.




1
 No party’s counsel authored the brief in whole or in part. No party or party’s counsel contributed
money that was intended to fund preparing or submitting the brief. No person other than these
amici curiae, their members, or their counsel contributed money that was intended to fund
preparing or submitting this brief.
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                                           ARGUMENT

                                              POINT I

  THE DISTRICT COURT HAS NO AUTHORITY TO SECOND-GUESS THE U.S.
DEPARTMENT OF JUSTICE’S DECISION TO DISMISS A CRIMINAL INDICTMENT
                  WITH CONSENT UNDER RULE 48

A.     Rinaldi and Its Lineage

        Federal Rule of Criminal Procedure 48(a) states “[t]he government may, with leave of

court, dismiss an indictment, information, or complaint.” The U.S. Supreme Court has explained

that the purpose of the Rule 48(a) “leave-of-court” requirement is “to protect a defendant against

prosecutorial harassment, e.g., charging, dismissing, and recharging, when the Government moves

to dismiss an indictment over the defendant’s objection.” Rinaldi v. United States, 434 U.S. 22,

29 n.15 (1977).

       Nothing in Rinaldi, or any other appellate authority authorizes a district court to question

the prosecutorial discretion of the Department of Justice to discontinue a matter.           This is

particularly true where both the Government and the Defendant join to seek dismissal.

       As the Supreme Court made held in Rinaldi that the “leave of court” provision in Rule 48

(a) is designed to protect a defendant there can be no need for the Court to protect a defendant’s

interests when the defendant has consented to the decision of the prosecution to dismiss a case

without prejudice. This is exactly the circumstances of this case and should end the Court’s inquiry.

It should also lead to the immediate dismissal of the matter.

        What is apparent that after Rinaldi, once the Government and the Defendant agree on a

dismissal without prejudice the Court lacks authority to withhold leave of court. And, if the Court

has no authority to withhold leave of court, there is no issue before it.




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         Moreover, the Court has no authority to second-guess both the Department of Justice and

the defendant on the issue of dismissal.

         Because once the Government and the Defendant agree on a dismissal without prejudice

the Court is without authority to deny it, the Court has no authority to appoint an amicus to carry

on an investigation or to answer the hypothetical issues posed. This constituted an improper

interference with the Government’s discretionary authority to either proceed or not with a

prosecution- a power left to the executive branch and not the judiciary by law. As the Court’s

Order of February 21, 2025 appointing Amicus was ultra vires it should be rescinded.

         Interestingly, the Court’s Order did not actually ask the amicus to address whether the

decision of the Justice Department not to prosecute was improper, but this is exactly what one

amicus believes the court should do.2 This would be encouraging the Court to violate Rinaldi and

its clear limitations on a district court when the parties’ consent to a dismissal under Rule 48(a).

         The Ninth Circuit has directly addressed the issue currently before the Court. In United

States v. Garcia-Valenzuela, 232 F.3d 1003, 1008 (9th Cir. 2000) the court held that when the

parties to a criminal matter consent to a discontinuance without prejudice, there is nothing more

for a district court to do but dismiss the case.

         Specifically, the Ninth Circuit has held that “[w]here a defendant consents to the

government’s motion to dismiss, it is not clear that the district court has any discretion to deny the

government’s motion.”. Whether or not that was the original intention when the leave-of-court




2
    See Brief Amicus Curiae of Former U.S. Attorneys (Feb. 17, 2025).
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requirement was implemented,3 the protection of the defendant has been understood to be the

primary purpose and effect of the requirement.4

        Here, there is nothing for the Court to do but dismiss the case. There is no balancing to be

performed by the Court. There is no “burden of proof” for the Government to meet with respect

to a Rule 48(a) motion to dismiss. The judge’s role in considering the motion is narrowly focused

on whether the Government’s application was potentially detrimental to the defendant. Where a

defendant consents to the dismissal even this singular issue drops from the Court’s inquiry.

       In a case involving a post-plea Rule 48(a) motion, the Fourth Circuit explained that the

why the district court has not involved in the determination as to whether to dismiss a case under

in Rule 48(a). United States v. Smith, 55 F.3d 157, 160 (4th Cir. 1995)

In Smith Fourth Circuit held:

               Fair and efficient administration of the criminal laws by the Executive
               Branch and punishment of the guilty by the Judicial Branch are both in the
               public interest. Nevertheless, balancing these considerations to determine
               which interest prevails does not govern the disposition of the
               prosecutor’s motion to dismiss an indictment. Weighing these interests
               does not give adequate recognition to the Executive in the context of the
               Separation of Powers Doctrine as it exercises its duty in good faith to take
               care that the laws are faithfully executed (emphasis added).

       The Fifth Circuit is in accord with the Fourth Circuit on the inability of a district court to

interfere with the Government’s determination to discontinue a prosecution. United States v.

Hamm, 659 F.2d 624, 631 n.23 (5th Cir. 1981) (en banc) (“If United States v. Ammidown, is read




3
  See T.W. Frampton, “Why Do Rule 48(a) Dismissals Require ‘Leave of Court’?”, 73 STAN. L.
REV. ONLINE (June 2020).
4
    Lest there be any confusion with court approval of plea agreements, the Ninth Circuit
differentiated plea considerations from a motion to dismiss, noting that “[w]e have recognized that
a court’s power to deny a prosecutor’s motion to dismiss under Fed. R. Crim. P. 48(a) is more
limited than its discretion under Fed. R. Crim. P. 11(e)(2) to reject a plea bargain that includes
dismissal of a charge.” Id. at 1007, n.4 (emphasis added).
                                                 4
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to place the burden on the prosecutor to prove that dismissal is in the public interest, however, then

it is contrary to our rule enunciated in United States v. Cowan and to the Supreme Court’s holding

in Rinaldi.”(cleaned up)

       Here, the Court, based upon an incorrect assumption of its authority has made a number of

errors. First, it incorrectly assumed that it had jurisdiction over the case when both parties consent

to the discontinuance without prejudice. Second, it incorrectly assumed that it had the authority to

investigate the circumstances of the agreement between the Government and the defendant. Third,

it believed it had the authority to appoint an amicus to assist the district court in the consideration

of an unopposed motion. Fourth, it believed it had authority to inquire into the internal decision-

making of the U.S. Department of Justice. Finally, with no case or controversy before it, it believed

it had the authority to create a controversy that the court could resolve.

B.     Lessons to Be Learned from Justice Robert Jackson

       In 2005, former U.S. Attorney General Edwin Meese penned a law review article which

traced Justice Robert Jackson’s illustrious career from trial attorney to General Counsel of the

Bureau of Revenue, to Assistant Attorney General for the Antitrust Division, to Solicitor General

of the United States, and then, in 1940, to being sworn in as our nation’s 57th Attorney General,

and his subsequent service as an Associate Justice of the U.S. Supreme Court, and Chief Prosecutor

at the Nuremberg Trials following World War II.

       It was during Justice Jackson’s brief tenure as Attorney General that he made a lasting

contribution to the U.S. Department of Justice in promoting fairness in the administration of justice

and in protecting constitutional rights. In his law review article, former Attorney General Meese

identified the central lessons to be learned from Justice Jackson’s famous April 1, 1940 remarks

in the Great Hall of Justice, as follows:


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               “The prosecutor,” he said, “has more control over life, liberty, and
               reputation than any other person in America.” He pointed out the
               tremendous discretion that is held by the prosecutor in the ability to decide
               whether to investigate, order arrests, seek an indictment by a grand jury,
               present a case for trial or dismiss it,...5 [“Robert H. Jackson, Public
               Servant,” 68 ALBANY L. REV. 777, 779 (2005) (emphasis added)]

       Justice Jackson knew, however, that those who wield this great prosecutorial power can,

from time to time, be wrong. If prosecutors brought a case that should be dismissed, who has

responsibility to correct that injustice? The district court apparently believes it has that power to

challenge the Government’s prosecutorial decision making. This is simply incorrect.

       Some lawyers who formerly served as U.S. Attorneys who filed an amicus brief appear to

believe that they should have that power.6 Although each federal prosecutor has a measure of

authority to act for the United States, “[t]he Attorney General is the head of the Department of

Justice.” 28 U.S.C. § 503.

       Except with respect to certain discrete matters not involved here: “[a]ll functions of other

officers of the Department of Justice and all functions of agencies and employees of the

Department of Justice are vested in the Attorney General....” 28 U.S.C. § 509. Thus, in truth, that

responsibility and power is vested in the Attorney General of the United States.

       Here, Attorney General Pam Bondi was appointed by President Trump and confirmed by

the U.S. Senate on February 4, 2025, assuming office on February 5, 2025. Among her first acts

in office was to investigate the prosecution of Mayor Eric Adams, and then to take decisive action

to fulfil her duty as Attorney General to direct the filing of the government’s motion to dismiss on




5
  See also Brief Amicus Curiae of Former United States Attorney General Edwin Meese III, et al.
in Support of Petitioner, On Petition for Writ of Mandamus, In Re: Michael T. Flynn, USCA-DC,
No. 20-5143 (June 1, 2020).
6
  See Brief Amicus Curiae of Former U.S. Attorneys (Feb. 17, 2025).
                                                  6
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February 14, 2025. Neither the district court nor the court’s appointed amici has any authority to

investigate or second-guess the internal decision-making of the Executive Branch on such a matter.

C.     None of the Questions Posed to the Appointed Amicus Are Relevant to Any Matter
       Before the District Court

       The six questions posed to the amicus by the district court are as follows:

       1)      The legal standard for leave to dismiss an indictment under Rule 48(a);

        This is an issue of law on which the Supreme Court has already ruled, and no guidance on
that legal issue should be required.

       2)      Whether, and to what extent, a court may consider materials other than the
               Rule 48(a) motion itself;

       If there is no matter before the district court, which is the case when both parties seek to
dismiss it, this question answers itself- there are no “materials” that can be considered.

       3)      Under what circumstances, if any, additional procedural steps and/or further
               inquiry would be appropriate before resolving a Rule 48(a) motion;

       Such further inquiry would be beyond the authority of the district court.

       4)      Under what circumstances, if leave is granted, dismissal should be with or
               without prejudice;

       The defendant has consented to dismissal without prejudice which moots this question.

       5)      If leave were denied under Rule 48(a), what practical consequences would
               follow, including whether dismissal would nevertheless be appropriate or
               necessary under other rules or legal principles (e.g., for “unnecessary delay”
               under Rule 48(b) or under speedy trial principles, see United States v. N.V.
               Nederlandsche Combinatie Voor Chemische Industrie, 453 F. Supp. 462, 463
               (S.D.N.Y. 1978))

       If leave were denied, an appeal would be taken, and the district court’s order vacated as

being beyond the authority of the district court.




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        6)      Any other issues the parties or amicus consider relevant to the Court’s
                resolution of the Government’s motion. [See Order at 3-4 (emphasis added).]

        There are no issues relevant to the district court’s resolution of the Government’s motion,

as it simply should be granted.

                                             POINT II

  THE DISTRICT COURT RELIED ON THE ERRONEOUS APPOINTMENT OF AN
               AMICUS CURIAE IN UNITED STATES V. FLYNN

        Perhaps the primary precedent relied on by the district court for the appointment of an

amicus were two decisions issued during the prosecution of Lt. Gen. Michael T. Flynn, an amicus

herein. The district court first stated:

                Where, as here, nominal adversaries are aligned in their positions,
                “precedent and experience have recognized the authority of courts to
                appoint an amicus to assist their decision-making ... including in criminal
                cases and even when the movant is the government.”

In re Flynn, 973 F.3d 74, 81 (D.C. Cir. 2020) (denying mandamus where district court appointed

amicus counsel on unopposed Rule 48(a) motion). [Order at 2 (emphasis added).

Then, the district court asserted:

                there is precedent for the appointment of amicus to assist a district court in
                the consideration of an unopposed motion under Rule 48(a) specifically.
                See United States v. Flynn, No. 17-232, 2020 WL 2466326 at *1 (D.D.C.
                May 13, 2020) mandamus denied 973 F.3d 74 (D.C. Cir. 2020) (en banc).
                [Order at 3 (emphasis added).]

        Because the district court in Flynn issued two decisions the district court was able to

citation to two court decisions, even though there was only one “precedent”. But the district court’s

determination in Flynn was wrong.

        First, the status of the case in Flynn was radically different that this one. The appointment

by Judge Sullivan was made in the context of withdrawal of a guilty plea based, inter alia, on

breach by the government of the agreement, and motion to dismiss for egregious government

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conduct. It was not a pre-plea or judgment dismissal as in this case. This is a significant distinction

as the defendant and the Government are in a different posture once a defendant has been found

guilty.

          In Flynn, District Judge Emmet G. Sullivan appointed an amicus on May 12, 2020. But

the authority to make such an appointment was never fully resolved General Flynn received a

presidential pardon.

          And, the district court’s order was vacated by the D.C. Circuit Court of Appeals sitting en

banc, which granted General Flynn’s mandamus requests for relief and ordered the dismissal of

the case. The en banc ruling indicated the legitimacy of Judge Sullivan’s appointment of the

amicus was not ripe for resolution.

          When looked at light of the D.C. Circuit’s decision, there is no rational basis to follow the

lead of Judge Sullivan in connection with appointing an amicus here. Notably, the only case Judge

Sullivan pointed to as authority was United States v. Simmons, No. 18-cr-344 (EGS) a case in

which he was presiding at that same time as Flynn. See Min. Order, United States v. Simmons,

No. 18-cr-344 (EGS) (D.D.C. May 5, 2020).

          While the stage of the Flynn matter post-plea, is radically different than this case, the

Government’s basis for dismissal is also distinguishable. The charges against Flynn were

manufactured, as admitted by former FBI Director James Comey, who confessed that he tried to

set up Flynn by sending investigators to the White House on a pretense to create a perjury trap.7




7
 See A. McCarthy, “The FBI Set Flynn Up to Preserve the Trump-Russia Probe,” National Review
(May 2, 2020).
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A subsequent investigation by the Justice Department led to the conclusion that no violation of 18

U.S.C. § 1001 had been committed.8

       Making the precedent even less persuasive that Judge Sullivan may have made the

appointment to prolong the ordeal for General Flynn and ensure the process provided some

punishment which he apparently believed General Flynn deserved-the position of the Justice

Department notwithstanding.9

       Using the ploy of appointing an amicus, Judge Sullivan caused the prosecution to continue

indefinitely, forcing General Flynn to continue to pay lawyers, and the Justice Department to

expend resources, until President Trump ended the ordeal by pardoning General Flynn. Even after

the pardon, Judge Sullivan continued to attack General Flynn, Attorney General William P. Barr,

and by implication, President Trump.

       As the Supreme Court’s decision in Rinaldi and the D.C. Circuit’s in Flynn make this

Court’s role in effectuating a Rule 48(a) dismissal ministerial, there is simply no basis for

appointment of an amicus. Accordingly, the Court should vacate the order appointing the amicus

and enter the dismissal of the case.




8
  See J. Wishon, “Justice Dept Exonerates Michael Flynn: ‘He Was Targeted by the Obama
Administration,’” CBN (May 8, 2020).
9
  For example, Judge Sullivan at one point made a baseless charge about violation of the Foreign
Agents Registration Act, and an even more reckless allegation of treason. After a recess, Judge
Sullivan apparently regained composure and walked these back. See Brief Amicus Curiae of
Former Attorney General Edwin Meese, et al., at 2.
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                                             POINT III

      THE TRUMP JUSTICE DEPARTMENT IS DE-WEAPONIZING THE BIDEN
                  ADMINISTRATION’S JUSTICE DEPARTMENT

       There is no reason for the Court to believe that every prosecution begun by the Justice

Department is well-founded. Over the last four years significant issues of the weaponization of

the Justice Department have been raised.

       Having personal experience with much of this weaponization, President Trump, at the

outset of his second term, issued an Executive Order entitled “Ending the Weaponization of the

Federal Government,” (Jan. 20, 2025). Section 3(a) of that Order states:

               The Attorney General, ... shall take appropriate action to review the
               activities of all departments and agencies exercising civil or criminal
               enforcement authority of the United States, including, but not limited to,
               the Department of Justice ... over the last 4 years and identify any
               instances where a department’s or agency’s conduct appears to have been
               contrary to the purposes and policies of this order.... (Emphasis added.)

        This Executive Order was a clear indication of this administration’s discretion as to

evaluating prosecutions. In accordance with this directive to the Attorney General, the Department

of Justice has taken, and no doubt will be taking, many efforts de-weaponize “criminal

enforcement authority.”

       But whether the Court agrees or disagrees with the executive order, its role is not invade

prosecutorial discretion-that is purely left to the executive branch.




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                                      CONCLUSION

       The order appointing an amicus should be rescinded, no report from the court-appointed

amicus should be accepted, and the Justice Department’s Motion to Dismiss should be granted.


Dated: February 28, 2025


                                                Respectfully submitted,


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